                         IN THE UNITED STATES BANKRUPTCY COURT

                                  FOR THE DISTRICT OF DELAWARE

In re:                                                      ) Chapter 11
                                                            )
TINTRI, INC.,1                                              ) Case No.: 18-11625 (KJC)
                                                            )
                                    Debtor.                 )
                                                               Objection Deadline: October 17, 2018 at 4:00 p.m.
                                                               Hearing Date: October 24, 2018 at 3:00 p.m.



            NOTICE OF THIRD OMNIBUS MOTION FOR THE ENTRY OF AN
             ORDER AUTHORIZING THE DEBTOR TO REJECT CERTAIN
         EXECUTORY CONTRACTS NUNC PRO TUNC TO THE REJECTION DATE

TO: (a) the Office of the United States Trustee; (b) the Debtor’s prepetition and postpetition
    lenders; (c) the Committee; (d) the counterparties to the Rejected Contracts; and (e) parties
    requesting notice pursuant to Bankruptcy Rule 2002.

                  PLEASE TAKE NOTICE that on September 30, 2018, the above-captioned

debtor and debtor in possession (collectively, the “Debtor”), filed the Third Omnibus Motion for

the Entry of an Order Authorizing the Debtor to Reject Certain Executory Contracts Nunc Pro

Tunc to the Rejection Date (the “Motion”) with the United States Bankruptcy Court for the

District of Delaware, 824 North Market Street, 3rd Floor, Wilmington, Delaware 19801 (the

“Bankruptcy Court”). A copy of the Motion is attached hereto.

                  PLEASE TAKE FURTHER NOTICE that objections and responses to the

relief requested in the Motion, if any, must be in writing and filed with the Bankruptcy Court on

or before October 17, 2018 at 4:00 p.m. (Eastern time).




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  The Debtor and the last four digits of its taxpayer identification numbers are (6978): The headquarters and service
address for the above-captioned Debtor is 303 Ravendale Dr., Mountain View, CA 94043.

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                 PLEASE TAKE FURTHER NOTICE that at the same time, you must also

serve a copy of the response or objection upon: (i) the Debtor, Tintri, Inc., 303 Ravendale Dr.,

Mountain View, CA 94943, Attn: Robert J. Duffy; (ii) proposed counsel for the Debtor, (a)

Pachulski Stang Ziehl & Jones LLP, 919 N. Market Street, 17th Floor, Wilmington, DE 19801,

(Attn: Colin R. Robinson, Esquire), crobinson@pszjlaw.com; and (b) Pachulski Stang Ziehl &

Jones LLP, 150 California Street, 15th Floor, San Francisco, CA 94111, (Attn: John D. Fiero,

Esquire), jfiero@pszjlaw.com; (iii) the U.S. Trustee; Timothy J. Fox, Esq., Office of the United

States Trustee, 844 King Street, Suite 2207, Lockbox 35, Wilmington, DE                  19801,

timothy.fox@usdoj.gov; (iv) counsel to the DIP Lender, (a) Polsinelli PC; 222 Delaware

Avenue, Suite 1101, Wilmington, DE          19801; (Attn:     Stephen J. Astringer, Esquire),

sastringer@polsinelli.com, (b) McDermott Will & Emery, 340 Madison Avenue, New York, NY

10173, (Attn: Riley T. Orloff, Esquire), rorloff@mwe.com; and (c) McDermott Will & Emery,

2049 Century Park East, Suite 3800, Los Angeles, CA 90067, (Attn: Gary B. Rosenbaum,

Esquire), grosenbaum@mwe.com; (v) co-counsel for Prepetition Senior Secured Lender, (a)

Ashby & Geddes, P.A.; 500 Delaware Avenue, 8th Floor, PO Box 1150, Wilmington, DE

19899-1150, (Attn: Gregory A. Taylor, Esquire), gtaylor@ashbygeddes.com; (b) Riemer &

Braunstein LLP, Three Center Plaza, Suite 600, Boston, MA 02108, (Attn: Paul S. Samson,

Esquire), psamson@riemerlaw.com; and (c) Riemer & Braunstein LLP, Times Square Tower,

Suite 2506, Seven Times Square, New York, NY 10036, (Attn: Steven E. Fox, Esquire),

sfox@riemerlaw.com; and (vi) counsel to the Official Committee of Unsecured Creditors:

Womble Bond Dickinson (US) LLP, 222 Delaware Avenue, Suite 1501, Wilmington, DE 19801,

(Attn: Matthew P. Ward, Esq. and Ericka F. Johnson, Esq.), matthew.ward@wbd-us.com,

ericka.johnson@wbd-us.com.



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                 PLEASE TAKE FURTHER NOTICE THAT IF YOU FAIL TO RESPOND IN

ACCORDANCE WITH THIS NOTICE, THE COURT MAY GRANT THE RELIEF

REQUESTED BY THE MOTION WITHOUT FURTHER NOTICE OR HEARING.

                 PLEASE TAKE FURTHER NOTICE THAT A HEARING TO CONSIDER

THE RELIEF SOUGHT IN THE MOTION WILL BE HELD ON OCTOBER 24, 2018 AT

3:00 P.M. (EASTERN TIME) BEFORE THE HONORABLE KEVIN J. CAREY, UNITED

STATES BANKRUPTCY COURT JUDGE, AT THE UNITED STATES BANKRUPTCY

COURT FOR THE DISTRICT OF DELAWARE, 824 NORTH MARKET STREET, 5TH

FLOOR, COURTROOM NO. 5, WILMINGTON, DELAWARE 19801.


Dated: September 30, 2018            PACHULSKI STANG ZIEHL & JONES LLP
      Wilmington, Delaware
                                     /s/ Colin R. Robinson
                                     John D. Fiero (CA Bar No. 136557)
                                     John W. Lucas (CA Bar No. 271038)
                                     James E. O'Neill (DE Bar No. 4042)
                                     Colin R. Robinson (DE Bar No. 5524)
                                     919 N. Market Street, 17th Floor
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                                     Attorneys for Debtor and Debtor in Possession




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